          Case 5:21-cv-00877-FB Document 10 Filed 01/13/22 Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

                                   §
MICHAEL MCCOY
                                   §
                                   §
Plaintiff,
                                   §
                                   §
                                   §
                                   §
                                   §                      5:21-CV-877 FB
v.
                                   §
                                   §
NEWREZ LLC FKA NEW PENN FINANCIAL, §
                                   §
LLC DBA SHELLPOINT MORTGAGE
                                   §
SERVICING AND JAMES STAVOPOULOS
                                   §
SECURE ONE CAPITAL CORPORATION
                                   §
                                   §
Defendants
                 NOTICE OF APPEARANCE OF RETAINED COUNSEL


       This notice is to advise the Court that Plaintiff has retained the following lawyers whose

information is as follows:


Law Office of Kenneth Grubbs
8000 IH-10 West, Ste 740
San Antonio, Texas 78230
(210) 490-1292
(210) 499-4587 (fax)
Texas SBN: 00798225
Email: lawofficeofkennethgrubbs@gmail.com


       This is to advise counsel and the clerk that all notices on this matter should be sent only

to that above lawyer at the above email address.

Respectfully Submitted
          Case 5:21-cv-00877-FB Document 10 Filed 01/13/22 Page 2 of 2




                                                    /s/Kenneth E. Grubbs

                                                    ______________________
                                                    Kenneth E. Grubbs
                                                    Attorney for Plaintiff
                                                    SBN: 00798225
                                                    Forum Building
                                                    8000 IH-10 West, Ste 740
                                                    San Antonio, Texas 78230
                                                    (210) 490-1292
                                                    (210) 499-4587 (fax)
                                                    lawofficeofkennethgrubbs@gmail.com




                                  CERTIFICATE OF SERVICE


    This is to certify that the above and foregoing has been served on the attorney for the
Defendant listed below on January 13, 2022, in accordance with the Federal Rules of Civil
Procedure.

Walter McInnis
Akerman LLP
2001 Ross Avenue, Ste 3600
Dallas, Texas 75201

Monica Summers
Akerman LLP
112 East Pecan Street, Ste 2750
San Antonio, Texas 78205
                                                    /s/Kenneth E. Grubbs

                                                    _________________________
                                                    Kenneth E. Grubbs
                                                    Attorney for Plaintiff
